CORED STATES BAM RUPIee Coun e SOOTHES pisnder ot if LORIDA

www.flsb.uscourts.20v

CHAPTER 13 PLAN (Individual Adjustment of Debts)
C] Original Plan

[ma] FIRST Amended Plan (Indicate ist, 2nd, etc. Amended, if applicable)
CJ Modified Plan (Indicate Ist, 2nd, etc. Moditied, if applicable)

 

 

 

 

DEBTOR: Milko Masullo JOINT DEBTOR: CASE NO.: 22-13278-BKC-RAM

 

SS#: xxx-xx- 8012 SS#: XXx-xx-

I.

NOTICES

To Debtors: Plans that do not comply with local rules and judicial rulings may not be confirmable. All plans, amended plans and
modified plans shall be served upon all creditors and a certificate of service filed with the Clerk pursuant to Local
Rules 2002-1 (C)(5), 3015-1(B)(2), and 3015-2. Debtor(s} must commence plan payments within 30 days of filing
the chapter 13 petition or within 30 days of entry of the order converting the case to chapter 13.

To Creditors: Your rights may be affected by this plan. You must file a timely proof of claim in order to be paid. Your claim may
be reduced, modified or eliminated.

To All Parties: The plan contains no nonstandard provisions other than those set out in paragraph IX. Debtor(s) must check one box
on each line listed below in this section to state whether the plan includes any of the following:

 

The valuation of a secured claim, set out in Section III, which may result in a [] Included [lm] Not included
partial payment or no payment at all to the secured creditor

 

vol judicial lien or no chase-money § ity i t .
A oidance of a judicial lien npossessory, nonpurchase-money security interest, set [1] Included [lm] Not included
out in Section If]

 

 

Nonstandard provisions, set out in Section LX [_] Included (m) Notincluded |

 

 

 

 

II.

Il.

LF-31 (rev, 0441/22)

PLAN PAYMENTS, LENGTH OF PLAN AND DEBTOR(S)' ATTORNEY'S FEE

A. MONTHLY PLAN PAYMENT: This Plan pays for the benefit of the creditors the amounts listed below, including trustce's
fees of 10%, beginning 30 days from the filing/conversion date. In the event the trustee does not retain the full 10%, any unused
amount will be paid to unsecured nonpriority creditors pro-rata under the plan:

I. $1,300.00 formonths 1 to 12;
2, $2,539.97 formonths 33 to 60 ;

B. DEBTOR(S)' ATTORNEY'S FEE: [] NONE [] PRO BONO

 

 

Total Fees: $4,650.00 Total Paid: $1,500.00 Balance Due: $3,150.00
Payable $1,050.00 ‘month (Months | to 3 )

Allowed fees under LR 2016-I(B)(2) are itemized below:
$4,500.00 + $150.00 (cost) = $4,650.00

 

Applications for compensation must be filed for all fees over and above the Court's Guidelines for Compensation,

 

SECURED CLAIMS: [B] NONE

VALUATION OF COLLATERAL: [i] NONE
LIEN AVOIDANCE [i] NONE

SURRENDER OF COLLATERAL: [B] NONE
DIRECT P ENTS [[] NONE

Secured claims filed by any creditor granted stay relief in this section shall not receive a distribution from the Chapter 13 Trustee.
The debtor{s) elect to make payments directly to each secured creditor listed below. The debtor(s) request that upon
confirmation of this plan the automatic stay be terminated in rem as to the debtor(s) and in rem and in personam as to any
cadebtor(s) as to these creditors. Nothing herein is intended to terminate or abrogate the debtor(s)' state law contract rights.

 

Popo w >

Page | of 3
Case 22-13278-RAM Doc 29 Filed 08/10/22 Page2of3

 

 

 

 

Debtor(s): Milko Masullo Case number: 22-13278-BKC-R
Name of Creditor Last 4 Digits of Account No. Description of Collateral (Address, Vehicle, etc.)
; Eastern Financial Fl C 7421 8905 Shady Tree Ct Tampa, FL 33634
5 Santander Consumer USA —- 30068 2020 Hyundai Santa FE SE
NewRez LLC dba Shellpoint 7112 2908 West Xanthus Road Tampa, FL 33614
3. Mortgage Servicing
4 SLA Group, LLC 8012 8905 Shady Tree Ct Tampa, FL 33634

 

IV. TREATMENT OF FEES AND PRIORITY CLAIMS [as defined in 11 U.S.C. §507 and 11 U.S.C. § 1322(a)(4)] [7] NONE

A. ADMINISTRATIVE FEES OTHER THAN DEBTORS(S)' ATTORNEY'S FEE: [mi] NONE
B. INTERNAL REVENUE SERVICE: [|] NONE
C. DOMESTIC SUPPORT OBLIGATION(S): [—] NONE
D. OTHER: [8] NONE
Vv. TREATMENT OF UNSECURED NONPRIORITY CREDITORS CD NONE
A. Pay $120.00 ‘month (Months 1 to 3)

Pay $1,170.00 /month (Months 4 tol2 )
Pay $2,285.97 ‘month (Months 13 to 60 )
Pro rata dividend will be calculated by the Trustee upon review of filed claims after bar date.
B. [m] If checked, the Debtor(s) will amend/modify to pay 100% to alf allowed unsecured nenpriority claims.
C. SEPARATELY CLASSIFIED: [gi] NONE
VL STUDENT LOAN PROGRAM {m/ NONE
VIL EXECUTORY CONTRACTS AND UNEXPIRED LEASES [Bi] NONE
VIIL = =EINCOME TAX RETURNS AND REFUNDS:
[a] Debtor(s} will not provide tax returns unless requested by any interested party pursuant to 11 U.S.C. § 521.
IX. NON-STANDARD PLAN PROVISIONS [B] NONE

PROPERTY OF THE ESTATE WILL VEST IN THE DEBTOR(S) UPON PLAN CONFIRMATION.

I declare that the foregoing chapter 13 plan is true and correct under penalty of perjury.

f Que Gas (. Debtor August 10, 2022 Joint Debtor

'Milko Masullo Date Date

Patrick L, Cordero, Esquire August 10, 2022
Date

 

Attorney with permission to sign on
Debtor(s)’ behalf who certifies that
the contents of the plan have been

reviewed and approved by the

Debtor(s). l

By filing this document, the Attorney for Debtor(s) or Debtor(s), if not represented by counsel, certifies that the wording and
order of the provisions in this Chapter 13 plan are identical to those contained in Local Form Chapter 13 Pian and the plan
contains no nonstandard provisions other than those set out in paragraph IX.

LF-31 (rev. 04/01/22} Page 2 of 3
Case 22-13278-RAM Doc 29 Filed 08/10/22 Page 3of3

Debtor(s}: Milko Masullo Case number: 227-13278-BKC-R

 

! This certification requirement applies even if the Debtor(s} have executed a limited power of attorney to Debtor(s)’ attorney authorizing the
attomey to sign documents on the Debtor(s) behalf.

LF-31 (rev. 04/01/22) Page 3 of 3
